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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                    8:15CR201

       vs.
                                                                      ORDER
JORGE LUIS URESTI-BELTRAN,

                      Defendant.


       This matter is before the Court on the defendant’s Motion for Copies (Filing No. 117).
The defendant has not provided a sufficient reason for the Court to provide copies without
payment. Therefore, pursuant to the Court’s previous Order (Filing No. 116), the Motion is
denied. The defendant is, or course, free to request copies of his Judgment, and to pay the costs
of the same.


       IT IS ORDERED:
       1.      The defendant’s Motion for Copies [117] is denied.
       2.      The defendant may contact the Clerk of the District Court to request copies of his
Judgment, and to pay the costs of the same.
       3.      The Clerk of Court shall mail a copy of this order to the defendant at the address
provided in filing number 117.


       Dated this 27th day of September, 2016

                                                    BY THE COURT:
                                                    s/ F.A. Gossett, III
                                                    United States Magistrate Judge
